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                                   4                                  UNITED STATES DISTRICT COURT

                                   5                               NORTHERN DISTRICT OF CALIFORNIA

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                                   7        In re TWITTER INC. SECURITIES                    Case No. 16-cv-05314-JST
                                            LITIGATION
                                   8
                                                                                             ORDER GRANTING IN PART AND
                                   9                                                         DENYING IN PART MOTION TO
                                                                                             STRIKE
                                            This Document Relates To:
                                  10
                                            ALL ACTIONS                                      Re: ECF No. 360
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 United States District Court




                                  13            Before the Court is Plaintiffs’ motion to strike declarations and exhibits submitted in

                                  14   support of Defendants’ motion for summary judgment. ECF No. 360. The Court will grant the

                                  15   motion in part and deny it in part.

                                  16   I.       BACKGROUND

                                  17            This is a securities class action brought on behalf of all persons who purchased or

                                  18   otherwise acquired Twitter common stock between February 6, 2015 and July 28, 2015 (the

                                  19   “Class Period”). ECF No. 81 ¶ 2. Plaintiffs allege that Twitter and certain of its officers and/or

                                  20   directors violated the Securities Exchange Act of 1934 by making “materially false and misleading

                                  21   statements during the Class Period in press releases and filings with the SEC and in oral

                                  22   statements to the media, securities analysts and investors.” Id.

                                  23            Defendant Twitter, Inc. is a social media company that “provides a platform where any

                                  24   user can create a ‘tweet’ and any user can follow other users.” Id. ¶¶ 13, 19. Defendant Richard

                                  25   Costolo served as Twitter’s Chief Executive Officer during the Class Period, until his resignation

                                  26   on July 1, 2015. Id. ¶¶ 3, 14. Defendant Anthony Noto served as Twitter’s Chief Financial

                                  27   Officer during the Class Period. Id. ¶ 15.

                                  28            On September 18, 2019, Defendants filed a motion for summary judgment. ECF No.
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                                   1   352-4. On October 28, 2019, Plaintiffs filed a motion to strike declarations and exhibits submitted

                                   2   in support of Defendants’ motion for summary judgment. ECF No. 360. Shortly thereafter, the

                                   3   Court ordered Defendants to file an opposition to Plaintiffs’ request to strike the declaration of

                                   4   Michael Nierenberg. ECF Nos. 379, see ECF No. 360 at 4-9. Defendants filed their opposition on

                                   5   November 8, 2019. ECF No. 382. After conducting a telephonic hearing on the matter, the Court

                                   6   ordered Plaintiffs to file a reply in response to particular arguments raised during the hearing.

                                   7   ECF Nos. 383, 388. Plaintiffs filed their reply on November 20, 2019.1 ECF No. 392-4.

                                   8   II.      JURISDICTION

                                   9            This Court has jurisdiction pursuant to 28 U.S.C. § 1331.

                                  10   III.     DECLARATION OF CONFIDENTIAL WITNESS FIVE

                                  11            A.     Legal Standard

                                  12            Local Rule 7-3(a) states that “[a]ny evidentiary and procedural objections to [a] motion
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                                  13   must be contained within the brief or memorandum” opposing the motion. Courts routinely deny

                                  14   motions to strike evidentiary objections asserted in separate motions rather than within a party’s

                                  15   opposition brief. See, e.g., Strumlauf v. Starbucks Corp., No. 16-cv-01306-YGR, 2018 WL

                                  16   306715, at *4 (N.D. Cal. Jan. 5, 2018); Crandall v. Starbucks Corp., 249 F. Supp. 3d 1087,

                                  17   1103-04 (N.D. Cal. 2017).

                                  18            B.     Discussion

                                  19            Plaintiffs move to exclude the declaration of Confidential Witness Five as “irrelevant and

                                  20   irremediable hearsay” under Federal Rules of Evidence 401, 801, 802, and 801. ECF No. 360 at

                                  21   9-11. These “separately filed” evidentiary objections “do not comply with Local Rule 7-3(a).”

                                  22   Peak Health Ctr. V. Dorfman, No. 19-cv-04145-VKD, 2019 WL 5893188, at *4 (N.D. Cal. Nov.

                                  23   12, 2019); see Kamakahi v. Am. Society for Reproductive Medicine, No. 11-cv-01781-JCS, 2014

                                  24   WL 7183629, at *2 (N.D. Cal. Dec. 15, 2014) (finding that Rule 7-3(a) applies where Defendants’

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                                        Plaintiffs’ reply brief includes several statements that the parties prepared for their September
                                       2018 mediation proceedings. ECF No. 392-4 at 2-4; see ECF No. 401-4. The Court finds that the
                                  27   parties’ confidentiality agreement “precludes [Plaintiffs] from introducing in support of their
                                       securities claims any evidence of what [the parties] said, or did not say, during the mediation.”
                                  28   Facebook, Inc. v. Pacific Northwest Software, Inc., 640 F.3d 1034, 1041 (9th Cir. 2011); see ECF
                                       No. 401-7 at 2. Therefore, the Court will not consider this evidence.
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                                   1   motion challenges an expert report under Federal Rule of Evidence 702). Accordingly, the Court

                                   2   denies Plaintiffs’ request to strike the declaration of Confidential Witness Five. See Strumlauf,

                                   3   2018 WL 306715, at *4 (“[P]laintiffs make their evidentiary objections in a separate motion rather

                                   4   than within their opposition brief as required by Local Rule 7-3(a) which is procedurally improper

                                   5   and an independent basis to deny the motion.”).

                                   6   IV.     NIERENBERG DECLARATION

                                   7           A.      Legal Standard

                                   8           Federal Rule of Civil Procedure 26(a) requires parties to provide to other parties “the name

                                   9   . . . of each individual likely to have discoverable information—along with the subjects of that

                                  10   information—that the disclosing party may use to support its claims or defenses.” Fed. R. Civ. P.

                                  11   26(a)(1)(A)(i); Ollier v. Sweetwater Union High School Dist., 768 F.3d 843, 861 (9th Cir. 2014).

                                  12   A party who has made a disclosure under Rule 26(a) “must supplement or correct its disclosure
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                                  13   . . . in a timely manner if the party learns that in some material respect the disclosure . . . is

                                  14   incomplete or incorrect, and if the additional or corrective information has not otherwise been

                                  15   made known to the other parties during the discovery process or in writing.” Fed. R. Civ. P. 26(e).

                                  16           “If a party fails to provide information or identify a witness as required by Rule 26(a) or

                                  17   (e), the party is not allowed to use that information or witness to supply evidence on a motion, at a

                                  18   hearing, or at a trial, unless the failure was substantially justified or is harmless.” Fed. R. Civ. P.

                                  19   37(c)(1). This exclusion sanction is “‘intended to put teeth into the mandatory . . . disclosure

                                  20   requirements’ of Rule 26(a) and (e).” Ollier, 768 F.3d at 861 (quoting 8B Charles Alan Wright &

                                  21   Arthur R. Miller, Federal Practice and Procedure § 2289.1 (3d ed.2014)). The Ninth Circuit

                                  22   “give[s] particularly wide latitude to the [district court’s] discretion to issue sanctions under Rule

                                  23   37(c)(1).” Yeti by Molly, Ltd. v. Deckers Outdoor Corp., 259 F.3d 1101, 1106 (9th Cir. 2001).

                                  24           B.      Discussion

                                  25           Plaintiffs argue that Defendants’ untimely identification of Nierenberg as a witness with

                                  26   discoverable information violates Rule 26 and triggers the Rule 37(c)(1) exclusion sanction. ECF

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                                   1   No. 360 at 4-7.2

                                   2          Defendants served initial Rule 26(a)(1) disclosures on December 1, 2017 and served

                                   3   supplemental disclosures on May 3, 2019. ECF Nos. 360-2, 360-3. Neither of these disclosures

                                   4   identified Nierenberg as a witness likely to have discoverable information. See id. Defendants did

                                   5   not disclose Nierenberg as a witness until September 27, 2019, five months after the close of fact

                                   6   discovery and two weeks after Defendants filed their motion for summary judgment. See ECF No.

                                   7   360-4 at 6-7. Defendants’ failure to identify Nierenberg prior to filing their motion for summary

                                   8   judgment violates Rules 26(a) and (e). See Benjamin v. B & H Educ., Inc., No. 13-cv-04993-VC,

                                   9   2015 WL 6164891, at *2 (N.D. Cal. Oct. 16, 2015) (excluding declarations “for failure to disclose

                                  10   three third-party witnesses before [Defendant] filed its summary judgment motion.”).

                                  11          Moreover, Defendants’ delay was neither substantially justified nor harmless. “Disclosure

                                  12   of new fact witnesses at the time of summary judgment places the opposing party at a
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                                  13   disadvantage and constitutes unfair surprise.” Benjamin, 2015 WL 6164891, at *2 (internal

                                  14   quotation marks and citation omitted). Defendants’ “failure to disclose [Nierenberg] as a likely

                                  15   witness before defendants’ summary judgment motion was filed prejudiced” Plaintiffs “by

                                  16   depriving them of an opportunity to depose him.” Medina v. Multaler, Inc., 547 F. Supp. 2d 1099,

                                  17   1106 n.8 (C.D. Cal. 2007).

                                  18          Defendants argue that their late “addition of Nierenberg as a witness was substantially

                                  19   justified” because Plaintiffs “completely changed their loss causation argument after the close of

                                  20   fact discovery.” ECF No. 382 at 4. Defendants assert that Plaintiffs’ operative complaint does not

                                  21   allege that the FY 2015 revised revenue guidance that Twitter disclosed on April 28, 2015 was a

                                  22   “corrective disclosure.” Id. at 4-5. The Court notes, however, that Plaintiffs’ consolidated

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                                         Defendants argue that Plaintiffs’ objections to the Nierenberg declaration violate Local Rule 7-
                                       3(a). ECF No. 382. However, the Local Rules are ambiguous as to whether Rule 7-3(a) applies to
                                  25   Plaintiffs’ request for exclusion sanctions under Federal Rule of Civil Procedure 37. While Local
                                       Rule 7-3(a) requires evidentiary and procedural objections to be contained within an opposition
                                  26   brief, Rule 7-8 requires “[a]ny motion for sanctions, regardless of the sources of authority
                                       invoked,” to “be separately filed.” See Apple iPod iTunes Antitrust Litig., No. 05-cv-0037-YGR,
                                  27   2014 WL 4809288, at *1 n.1 (acknowledging “potential ambiguity” in the interaction between
                                       Local Rules 7-3(a) and 7-8.). Therefore, the Court will consider Plaintiffs’ argument that
                                  28   Defendants violated Federal Rule of Civil Procedure 26, thereby triggering exclusion of the
                                       Nierenberg declaration under Rule 37.
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                                   1   amended complaint (“Complaint”)3 identifies Twitter’s April 28 earnings release and revenue

                                   2   guidance as a corrective disclosure. First, the Complaint details Twitter’s April 28 earnings

                                   3   release and notes that Twitter “lowered its full-year revenue forecast to between $2.17 billion and

                                   4   $2.27 billion, from prior guidance of $2.30 billion to $2.35 billion.” ECF No. 81 ¶ 98. Second, in

                                   5   explaining why the April 28 “concealment of adverse trends in user engagement” were “materially

                                   6   misleading,” the Complaint emphasizes the link between “future revenue growth” and “increase[s]

                                   7   in user engagement.” Id. ¶ 104. The Complaint states that “Twitter’s main source of revenue,

                                   8   advertising, was dependent on the level of user engagement.” Id. ¶ 104(c). Third, the Complaint

                                   9   alleges that “as a result of the disclosures on April 28, 2015,” including the “earnings press

                                  10   release,” Twitter’s “stock price suffered a significant decline.” Id. ¶¶ 135-36.

                                  11            In sum, the Court finds that Defendants’ failure to disclose Nierenberg as a witness prior to

                                  12   filing their motion for summary judgment violated Rules 26(a) and (e). Because this failure was
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                                  13   neither substantially justified nor harmless, the Court strikes the Nierenberg declaration. See

                                  14   Schedler v. Fieldturf USA, Inc. No. 3:16-cv-0344-JR, 2018 WL 5083883, at *2 (The Rule 37(c)(1)

                                  15   “sanction is self-executing and automatic. . . The only exceptions to [its] exclusion sanction apply

                                  16   if the failure to disclose is substantially justified or harmless.”) (internal quotation marks and

                                  17   citations omitted).

                                  18   V.       EXHIBITS

                                  19            “It is well established that ‘[d]istrict courts have inherent power to control their docket.’”

                                  20   Ready Transp., Inc. v. AAR Mf., Inc., 627 F.3d 402, 404 (9th Cir. 2010) (quoting Atchison, Topeka

                                  21   & Santa Fe Ry. v. Hercules, Inc., 146 F.3d 1071, 1074 (9th Cir.1998)). Plaintiffs request that the

                                  22   Court exercise this inherent power to strike 18 exhibits to Defendants’ motion for summary

                                  23   judgment which Defendants “do not cite, refer to, or rely upon” in their motion. ECF No. 360 at

                                  24   11. The Court finds that striking these exhibits would not “clarify the docket” and, therefore,

                                  25   declines to exercise its discretion to strike the documents. ECF No. 360 at 11 (citing Dearwester

                                  26   v. County of Sacramento, No. 2:13-cv-2064 MCE DB P, 2016 WL 7491626, at *3 (striking

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                                           Plaintiffs filed their consolidated amended complaint on March 2, 2017. ECF No. 81.
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                                   1   documents to “clarify the docket” where the documents were “identical” to those previously filed

                                   2   by plaintiff)).

                                   3                                             CONCLUSION

                                   4           For the foregoing reasons, the Court grants in part and denies in part Plaintiffs’ motion to

                                   5   strike. The declaration of Michael Nierenberg is stricken in its entirety. The Court will not

                                   6   consider this declaration in connection with any proceeding, including Defendants’ motion for

                                   7   summary judgment.

                                   8           IT IS SO ORDERED.

                                   9   Dated: January 30, 2020
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                                                                                                      JON S. TIGAR
                                  11                                                            United States District Judge

                                  12
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